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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JOHN COREY FRASER, JOSHUA CLAY

MCCOY, TYLER DALTON MCGRATH,

IAN FLETCHER SHACKLEY, and

JUSTIN TIMOTHY FRASER, on behalf

of themselves and all others

Similarly situated as a Class,
Plaintiffs,

Vv. No. 3:22-cv-410

BUREAU OF ALCOHOL, TOBACCO,
FIREARMS AND EXPLOSIVES, STEVEN
DETTELBACH, and MERRICK GARLAND,

Defendants.

MEMORANDUM OPINION

This matter is before the Court on DEFENDANTS’ MOTION FOR A
STAY OF INJUNCTION PENDING APPEAL (ECF No. 63). For the reasons
set forth below, DEFENDANTS’ MOTION FOR A STAY OF INJUNCTION

PENDING APPEAL (ECF No. 63) will be granted.

BACKGROUND
This case is a constitutional challenge under the Second
Amendment to an interlocking collection of federal laws and
regulations that prevent 18-to-2l-year-olds from purchasing
handguns from federally-licensed firearms dealers ("“FFLs”).
MEMORANDUM OPINION at 4 (ECF No. 47). Plaintiffs are all men over

the age of 18 but under the age of 21. Id. at 2; see also First
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Amended Complaint (“FAC”) at | Q 41-44 (ECF No. 18). Aside from
their age, they are all otherwise qualified to purchase handguns.
FAC J 49. That is not disputed.

Plaintiffs originally filed suit in June 2022 and filed their
FIRST AMENDED COMPLAINT in November of that year. MEMORANDUM
OPINION at 3. In November 2022, the Government filed DEFENDANTS’
MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT (“Motion to
Dismiss”) (ECF No. 21) and, in December 2022, Plaintiffs filed
PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT (“Motion for Summary
Judgment”) (ECF No. 28). The Court held oral argument on the two
motions on February 8, 2023. Minute Entry 2/8/2023 (ECF No. 37).
On May 10, 2023, the Court entered an ORDER (ECF No. 48) and
accompanying MEMORANDUM OPINION (ECF No. 47) denying the
Government's Motion to Dismiss and granting the Plaintiffs’ Motion
for Summary Judgment. In the Memorandum Opinion, applying to mode

of analysis specified in New York State Rifle & Pistol

Associations, Inc. v. Bruen, 142 S.Ct. 2111 (2021), the Court

concluded that, “[b]ecause the statutes and regulations in
question are not consistent with our Nation's history and
tradition, they, therefore, cannot stand.” MEMORANDUM OPINION at
65.

The Court ordered the parties to meet and confer on how best

to proceed in this matter. MAY 10, 2023 ORDER (ECF No. 49). The

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parties filed a joint status report informing the Court that they
“do not agree on how to proceed.” JOINT REPORT ON CLASS
CERTIFICATION at 2 (ECF No. 52). On June 2, 2023, the Government
filed DEFENDANTS’ MOTION FOR A STAY OF INJUNCTION PENDING APPEAL
(“Motion for Stay”) (ECF No. 63).}

The Court granted PLAINTIFFS’ MOTION FOR DECLARATORY JUDGMENT
AND INJUNCTION (“Motion for Declaratory Judgment & Injunction”)
(ECF No. 57), denied DEFENDANTS' MOTION FOR ENTRY OF JUDGMENT IN
A SEPARATE ORDER (ECF No. 53), imposed an injunction and granted
declaratory relief on August 30, 2023. See MEMORANDUM OPINION (ECF
No. 79), August 30, 2023 ORDER (ECF No. 80), FINAL ORDER OF
INJUNCTION (ECF No. 81), FINAL ORDER OF DECLARATORY RELIEF (ECF

No. 82)

DISCUSSION
The Government filed DEFENDANTS’ MOTION FOR A STAY OF
INJUNCTION PENDING APPEAL (“Motion for a Stay”) (ECF No. 63).

Plaintiffs have not filed any opposition to the Motion for a Stay.

1 On May 18, 2023 Plaintiffs filed PLAINTIFFS’ AND PROPOSED PLAINTIFF'S MOTION
TO ADD JUSTIN FRASER AS PLAINTIFF OR GRANT INTERVENTION (“Motion for
Intervention”) (ECF No. 50) and the Government filed DEFENDANTS’ MOTION FOR
ENTRY OF JUDGMENT IN A SEPARATE ORDER (ECF No. 53). On May 22, 2023 Plaintiffs
filed PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION ("Motion for Class Cert.”)
{ECF No. 56) and PLAINTIFFS’ MOTION FOR DECLARATORY JUDGMENT AND INJUNCTION
("Motion for Declaratory Judgment & Injunction”) (ECF No. 57). The Court granted
Plaintiffs' Motion for Intervention. AUG. 24, 2023 ORDER (ECF No. 73) and
MEMORANDUM OPINION (ECF No. 72).

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The Court will thus treat this as an unopposed motion and will
grant the Motion for a Stay. Even if it were opposed, the Court
finds compelling reasons to grant a stay.

Fed. R. Civ. P. 62(c) allows courts to stay injunctions
pending appeals. As the Supreme Court of the United States
explained, “the power to stay proceedings is incidental to the
power inherent in every court to control the disposition of the
causes on its docket with economy of time and effort for itself,

for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S.

248, 254 (1936). However, the granting of a stay pending appeal is

“extraordinary relief.” Personhuballah v. Alcorn, 155 F.Supp.3d

552, 558 (E.D.Va. 2016) (citation and quotation marks omitted).
When determining if a stay pending appeal is appropriate,
courts consider the following factors:

(1) whether the stay applicant has made a strong showing
that he is likely to succeed on the merits; (2) whether
the applicant will be irreparably injured absent a stay;
(3) whether issuance of the stay will substantially
injure the other parties interested in the proceeding;
and (4) where the public interest lies.

Nken v. Holder, 129 S.Ct. 1749, 1761 (2009) (quoting Hilton v.

Braunskill, 481 U.S. 770, 776 (1987)) (emphasis added); see also

Coalition for TJ v. Fairfax Cnty. Sch. Bd., No. 22-1280, 2022 WL

986994, at *1 (4th Cir. March 31, 2022) (citing Nken, 129 S.Ct.

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1749); Long v. Robinson, 422 F.2d 977, 979 (4th Cir. 1970) .2 These

“factors contemplate individualized judgments in each case” and
“the formula cannot be reduced to a set of rigid rules.” Hilton,
481 U.S. at 777.
Likely to Succeed on the Merits

The first factor to consider is “whether the stay applicant
has made a strong showing that he is likely to succeed on the
merits.” This standard “does not require the trial court to change
its mind or conclude that its determination on the merits was

erroneous.” United States v. Fourteen Various Firearms, 8:97

F.Supp. 271, 273 (E.D.Va. 1995) (citation and quotation marks
omitted). Instead, it requires that “the issues presented on appeal

could be rationally resolved in favor of the party seeking the

2 Despite the clear distillation of these four factors, there remains some
uncertainty among district courts regarding “the precise standard in the Fourth
Circuit” and the balancing of these factors. Does 1-5 v. Cooper, No. 1:13CV711,
2016 WL 10587195, at *1 (M.D.N.C. March 2, 2016); see also Kadel v. Folwell,
1:19CV272, 2022 WL 11166311, at *2 (M.D.N.C. Oct. 19, 2022); Rose v. Logan, No.
RDB-13-3592, 2014 WL 3616380, at *1-2 (D. Md. July 21, 2014); Ohio Valley
Enviro. Coalition, Inc. v. U.S. Army Corps of Engineers, 890 F.Supp.2d 688, 690
(S.D.W. Va. 2012). Some district courts “have applied a ‘sliding-scale’ approach
to these factors, while others have required that all four factors be
definitively met.” Kadel, 2022 WL 11166311, at *2 (collecting cases). The
Eastern District of Virginia, however, has consistently found that it is proper
to balance these factors and the Court will do so here. United States v. Fourteen
Various Firearms, 897 F.Supp. 271, 272 (E.D. Va. 1995) (“In applying the four
standards, the Fourth Circuit has not specifically indicated that ‘balancing’
should be used but there is no reason to believe that such balancing is not
appropriate”) (quoting St. Agnes Hosp. v. Riddick, 751 F.Supp. 75, 76 (D. Md.
1990) (cleaned up); Project Vote/Voting for Am., Inc. v. Long, 275 FP.R.D. 473,
474 (E.D. Va. 2011); see also 11 Charles Alan Wright, Arthur R. Miller, & Mary
Kay Kane, Federal Practice and Procedure, § 2904 (3d ed.) (April 2023). ("a
stay will be granted if the balance of equities favors this action”).

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stay.” Id. The question, therefore, is whether “[r]easonable
minds” could disagree on the correct outcome of the case. Worth v.
Jacobson, No. 21-cv-1348, 2023 WL 3052730, at *2 (D. Minn. April
24, 2023).

In assessing this factor, “(mlany courts also take into
account that the case raises substantial difficult or novel legal
issues meriting a stay.” 11 Charles Alan Wright, Arthur R. Miller,

& Mary Kay Kane, Federal Practice and Procedure, § 2904 (3d ed.)

(April 2023); Edelman v. Jordan, 414 U.S. 1301, 1302 (1973) (in

chambers opinion of Circuit Justice Rehnquist) (granting a stay
when the case posed a “substantial legal question”). Because this
case is ‘one of first impression that touches on matters of
substantial national importance,” (i.e., the constitutionality of
a federal statute) it is “certainly a ‘substantial case on the

merits.’” Project Vote/Voting for Am., Inc. v. Long, 275 F.R.D.

473, 474 (E.D. Va. 2011) (quoting Hilton v. Braunskill, 481 U.S.

770, 778 (1987)).

The questions posed by this litigation are not only
substantial, they are also novel. This litigation posed the
difficult question of the proper definition of “the people” in the
Second Amendment and whether 18-to-21l-year-olds fall within in it.
In well-reasoned and thoughtful opinions, district courts have

landed on both sides of that debate. MEMORANDUM OPINION at 27-30
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(gathering cases). Of course, this Court adopted a definition that
made it necessary to grapple with the contrary opinions of its
sister courts. Indeed, another district court has ruled for the
Government in a substantially similar case, which has been

appealed. Reese v. ATF, No. 6:20-CV-01438, 2022 WL 17859138 (W.D.

La. Dec. 21, 2022). So too did a panel of the Eleventh Circuit
when it upheld a state statute imposing an age-based restriction

on gun ownership. National Rifle Assoc. v. Bondi, 61 F.4th 1317

(llth Cir. 2023), vacated by granting rehearing en banc, 72 F.4th

1346 (11th Cir. 2023) (memorandum opinion). The simple fact that
our sister courts have split of this question makes clear that
reasonable minds can-and have-disagreed.

In deciding to grant summary judgment to Plaintiffs, the Court
applied the standard newly articulated by the Supreme Court in

Bruen. “Bruen marks a sea-change in Second Amendment law, throwing

many prior precedents into question.” MEMORANDUM OPINION at 15.
The Fourth Circuit has not yet had the opportunity to apply the
Bruen standard nor has it opined on the continued validity of its
pre-Bruen precedents. The Supreme Court of the United States has
also not yet had the opportunity to further clarify any part of
its ruling. It has, however, recently granted certiorari on a
Second Amendment case which may provide further clarity on the

proper application of the test articulated in Bruen. United States

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v. Rahimi, 61 F.4th 443 (5th Cir. 2023), cert. granted, No. 22-

915, 2023 WL 4278450 (U.S. June 30, 2023) (No. 22-915).

In particular, as this Court has noted before, Bruen’s
requirement that courts conduct a historical inquiry poses many
“challenges.” MEMORANDUM OPINION at 40 n.20. As other courts have
noted, the test for determining what is a proper “‘historical
analogy’ .. . presents many questions without fully formed

answers.” Firearm Policy Coalition, Inc. v. McCraw, 623 F.Supp.3d

740, 757 (N.D. Tex. 2022). The Fourth Circuit has not yet opined
on the proper application of this test. Thus, there remain some
unresolved questions about the exact application of the Bruen
analytical mode.

Other courts, including two district courts upon which this
Court relied, have stayed their rulings in similar cases.
MEMORANDUM OPINION at 30. In Worth, the District of Minnesota
stayed it’s ruling after making a finding that “this area of law
is far from settled and the questions presented by this dispute
are open to differing conclusions.” 2023 WL 3052730, at *2. So too
did the Northern District of Texas after finding that its “crystal
ball” was “clouded” by the lack of Fifth Circuit precedent

pertaining to the application of Bruen. Firearm Policy Coalition,

623 F.Supp.3d at 757.

In sum, this area of law is in flux. Courts around the nation

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are grappling with how to apply Bruen and coming to conflicting
results on substantially similar questions. And the Courts of
Appeals are just now turning to the application of Bruen. All of
the foregoing clearly counsels that the exercise of equitable
authority calls for the granting of a stay of the injunction
pending appeal.
Irreparable Injury to the Government

As explained in the MEMORANDUM OPINION awarding an
injunction, ECF No. 79, the Government will suffer no harm from

the enjoining of an unconstitutional law. See Legend Night Club v.

Miller, 637 F.3d 291, 302-03 (4th Cir. 2011).

But, if this Court were to deny a stay of the injunction and
thereafter its ruling were overturned by the Fourth Circuit or the
Supreme Court, individuals whom Congress did not wish to purchase
handguns could have purchased them in the meantime. It would be
difficult, if not impossible, to then claw-back those purchased

weapons. See Edelman v. Jordan, 414 U.S. 1301, 1302-03 (1973) (in

chambers opinion of Circuit Justice Rehnquist) (noting the
difficulties in recovering welfare funds if paid out and granting
a stay). The Government furthermore would be placed ina difficult
position of changing and then re-changing its guidance to FFLs and
its processes, procedures, and forms, causing significant

confusion for law enforcement officers, retailers, and citizens.

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This confusion could hamper the Government’s ability to
effectively engage in law enforcement, thus jeopardizing public

safety interests. See Maryland v. King, 133 S.Ct. 1, 2 (2012)

(Roberts, C.J. in chambers). This factor supports a stay.
Substantial Injury to Plaintiffs

As to the third factor (“whether issuance of the stay will
substantially injure the other parties interested in the

proceeding”), Nken v. Holder, 129 S.Ct. 1749, 1761 (2009),

Plaintiffs certainly have a strong interest in exercising their
constitutional rights and the stay will delay the date on which
they may do so. This is an injury, but, as Plaintiffs implicitly
acknowledge by not filing a response, they do not assert that they
will be “substantially injure[d]” by this delay. Moreover, the
parties will no doubt urge the Court of Appeals to expedite the
forthcoming appeal so that there will be no recurrence of

Hirschfeld v. Bureau of Alcohol, Firearms, & Tobacco, 5 F.4th 407

(4th Cir. 2021), vacated as moot by, 14 F.4th 322 (4th Cir. 2021).

CONCLUSION
For the reasons set forth above and balancing all the
factors,3 a stay of the FINAL ORDER OF INJUNCTION (ECF No. 81) and

the FINAL ORDER OF DECLARATORY RELIEF (ECF No. 82) pending appeal

3 Long v. Robinson, 422 F.2d 977, 979 (1970).
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is appropriate, and the DEFENDANTS’ MOTION FOR A STAY OF INJUNCTION
PENDING APPEAL (ECF No. 63) will be granted.

It is SO ORDERED.

/s/ EV
Robert E. Payne

Senior United States District Judge

Richmond, Virginia
Date: August 3, 2023

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